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                                UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF VIRGINIA
                                     Charlottesville Division


    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, APRIL MUÑIZ,
    MARCUS MARTIN, NATALIE ROMERO,
    CHELSEA ALVARADO, JOHN DOE, and
    THOMAS BAKER,                                              Civil Action No. 3:17-cv-00072-NKM
                                   Plaintiffs,
                                                                   JURY TRIAL DEMANDED
            v.
    JASON KESSLER, et al.,
                                   Defendants.


                        SUPPLEMENTAL ORDER REGARDING JURORS

          WHEREAS the jury trial in this case is scheduled to be conducted from October 25 to

   November 19, 2021;

          WHEREAS the Court issued a Pretrial Order on October 7, 2021, pertaining to certain

   procedures regarding the trial of this matter, including the selection of the jury, see ECF No. 1172;

          WHEREAS the Court finds that the following additional procedures pertaining to jurors

   will additionally promote efficient preparation for and conduct of the trial in this case;

          It is hereby ORDERED as follows:

          1.      Only the Court, the parties, and their counsel shall be informed of the names,

                  addresses, and other personally identifying information of jurors and prospective

                  jurors.

          2.      The juror questionnaires that are completed and returned by prospective jurors shall

                  be redacted by Court personnel before they are provided to the parties and their

                  counsel to remove names, signatures, addresses, and any other personal identifying
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                  information. Each questionnaire shall be assigned a number. The parties shall be

                  separately provided information matching each questionnaire number with the

                  name of each prospective juror.

          3.      All parties and their counsel shall not disclose the names, addresses, and other

                  personal identifying information about jurors and prospective jurors to any other

                  person without prior authorization of the Court.

          4.      As provided in the Court’s Pretrial Order, ECF No. 1172, only the Court will

                  question prospective jurors during voir dire; the parties, however, may submit

                  proposed questions to the Court.

          5.      The 12 jurors (and any alternates) who are seated on the jury for trial shall each be

                  assigned a number and shall be referred to by such number throughout the trial.

          The Court will consider providing any instructions the Court deems necessary or

   appropriate in order to reduce the risk of any prejudice to any party or concern on the part of any

   juror or prospective juror about the procedures described above.

          This Supplemental Order is intended to supplement rather than to replace the Pretrial Order

   dated October 7, 2021, all of whose terms remain in effect.



          It is so ORDERED.

          The Clerk of Court is directed to send a certified copy of this Order to the parties.

   Date: October ___,
                 12th 2021




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